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CO $26 Rev, $2018

‘UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT: OF COLUMBIA

UNITED STATES OF AMERICA )
)
VS. ) Criminal Case No.; 2!-244 (CKK)
) {eee NE
ANTHONY: ALFRED GRIFFITH, SR
)
WAIVER OF TRIAL BY JURY

With the consent of the United States Attorney and the approval of the Court, the defendant

waives his right to trial by jury. h

 

   

Counsel for: Defendant
I consent: ‘
toe COU
Assistant United States attorney

Approved:

Cbs fl, Key Date: a, )' 4 ¢_ Lo 23

COLLEEN. KOLLAR-KOTELLY:
United States District Judge

 

 
